                         CASE 0:19-cv-02914-DSD-BRT Doc. 1-1 Filed 11/01/19 Page 1 of 1
EEOC Form 161 (11/tO)            U.S. EouaL EMPLoYMeTt OpponruNlw Conttnntsstot't ]trutt r+ D)rlrtD
                                          fi"
                                                 DlstulssAL AND NoncE oF RlcHTs
To: Camllle Abboud                                                                    From: Denver Fleld Offlce
       46 Chandler Drrive                                                                   303 East {7th Avenue
       Saint Johns, FL 32259                                                                Suite 410
                                                                                            Denver, CO 80203


                            On behalf of person(s) aggrieved whose ldentily is
                            CONFIDENTTAL (29 CFR 51601.7(a)t
                                                EEOC Representative                                                  Telephone No.
EEOC Charge No.

                                                Lowell A. Pate,
541-2019-01882                                  Intake Superuisor                                                    (303) 866-132s

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
     tf          The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.


     tf          Your allegations did not involve a disability as defined by the Americans With Disabilities Act.


     tf          The Respondent employs less than the required number of employees or is not otherwise covered by the
                                                                                                                              statutes'


     rl                         I
                 your charge-was not timely filed with EEOC; in other words, you waited loo long after the date(s) of the alleged
                 discrimination to file Your charge

     E           The EEOC issues lhe following detennination: Based upon its investigation,- the EEOC is unable to conclude
                 information obtained establishes violations of the statutes. mis  does no.-t certify that the respondent
                                                                                                                    raised
                                                                                                                           is
                                                                                                                            by
                                                                                                                              in
                                                                                                                               this
                                                                                                                                         that the
                                                                                                                                 comptiance
                                                                                                                                    charge.
                                                                                                                                             with
                 the statutes. No finding is made as to any other issues that might be construed as having been

     tf          The EEOC has adopted the findings of the state or local fair employment practices agency that investigated
                                                                                                                                   this charge.


     tl           Olhe( (briefly state)



                                                         . NOTICE OF SUIT RIGHTS -
                                                   (See lhe additional informalion ailachad to this fotm')

                                                                                                              the Age
Tiile Vll, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or
                                                     the only notice of dismissal and  of your right to sue that  we will send you'
Discrimination in empioyment Act: This       wiit be
you may file a lawsuit against the respondent(s) under feOeratlaw based on this charge in federal.or sta.te court' Your
                                                                                                             this charge wilt be
lawsuit must be tileO'WjiHr-[g0 onVs oryour receipt of this notlce; or your right to sue based on
lost, (The time limit toffing-slit based on a claim under state law may be different.)




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 Enclosures(s)                                                                                                              (Date Mailed)
                                                                   Amy Bu


            Rlchard Hazel
            Team Lead, EEO
            XCEL ENERGY
            550 15th Street, Suite 500
            Denver, CO 80202
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                                                                 Nov 15 201s
                                                                             COURT MPLS                         DISTRICT
                                                             U.S, DISTRICT
